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                             United States District Court
                            Southern District of New York
                    ________________________________________
                                    Denise Diaz,
                                      Plaintiff,

                                          - against –

 CITY OF NEW YORK , NEW YORK COUNTY DISTRICT ATTORNEY’S OFFICE,
NEW YORK CITY POLICE DEPARTMENT, RAYMOND KELLY, individually and in his
    capacity as the former Commissioner of the New York City Police Department, JOSE
 FLORES, individually and in his official capacity as Investigator for the New York County
District Attorney’s Office, JOHN DOE 1, individually and in his official capacity as Captain in
 the NYPD, and JOHN DOE 2, individually and in his official capacity as an Officer in the
                    NYPD or the New York City District Attorney’s office,
                                        Defendants


                       MEMORANDUM OF LAW
IN SUPPORT OF THE NEW YORK COUNTY DISTRICT ATORNEY’S OFFICE
AND INVESTIGATOR JOSE FLORES MOTION TO DISMISS PURSUANT TO
               FEDERAL RULE 12 (b)(1), 12(b)(6) AND 4 (m)
   _________________________________________________________________

                          13 Civ. 8281 (PAC) (JCF)
   __________________________________________________________________

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DENISE DIAZ,                                                         ECF

                                      Plaintiff,                      13 CV 8281 (PAC)(JCF)

                      -against-

THE CITY OF THE NEW YORK, NEW YORK COUNTY
DISTRICT ATTORNEY’S OFFICE, THE NEW YORK
CITY POLICE DEPARTMENT, RAYMOND W. KELLY,
individually and in his capacity as the former Commissioner of
the New York City Police Department, JOSE FLORES,
individually and in his official capacity as Investigator for the
New York County District Attorney’s office, JOHN DOE
1,individaully and in his official capacity as Captain in the
NYPD, and JOHN DOE 2, individually and in his official
capacity as an Officer in the NYPD or the New York City
District Attorney’s Office,


                                     Defendants,



MEMORANDUM OF LAW IN SUPPORT OF THE NEW YORK COUNTY DISTRICT
ATTORNEY’S OFFICE AND INVESTIGATOR JOSE FLORES’ MOTION TO DISMISS

        Defendants New York County District Attorney’s Office (“DANY”) and Investigator Jose

Flores (“Inv. Flores”) (collectively “DA Defendants”) submit this Memorandum of Law in support

of their motion for an order pursuant to Rule 12(b)(6) and Rule 4 (m) of the Federal Rules of Civil

Procedure dismissing the complaint for failure to state a claim upon which relief can be granted and

for failure to timely serve the DA Defendants with the complaint, and for any other fair and

equitable relief.

                              PRELIMINARY STATEMENT
         In this pre-answer motion, submitted pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6),

 and Rule 4 (m), the DA Defendants are obliged to assume the truth of any factual assertions
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 made by plaintiff. Nevertheless, the DA Defendants wish to make plain that they by no means

 concede the veracity of plaintiff’s allegations. Indeed, plaintiff’s complaint contains statements

 that are either misleading or false. The DA Defendants emphasize that the failure to identify

 each of these misstatements in this memorandum is based solely on the procedural

 requirements attendant with the present motion.

INTRODUCTION

       By his causes of action brought pursuant to 42 U.S.C. § 1983, plaintiff seeks to hold the DA

Defendants liable, in their official and individual capacities, in connection with the events

surrounding the search of plaintiff’s home on November 24, 2010. However, even accepting the

truth of plaintiff’s allegations for purposes of this motion, plaintiff failed to timely serve the DA

Defendants and, further plaintiff’s complaint fails to state a viable claim against Inv. Flores or

DANY. As such, plaintiff’s complaint should be dismissed against the DA Defendants.

THE AMENDED COMPLAINT



       According to plaintiff – an officer with the New York City Police Department (AC¶ 30) - in

the morning hours of November 24, 2010, plaintiff’s common-law husband, George Castro, was

arrested outside plaintiff’s home (Amended Complaint [“AC”] ¶27). Plaintiff approached officers in

the area to inquire as to what was happening and was told by non-party Investigator Michael Wigdor

“Mind your business. Go back inside! This has nothing to do with you!” (AC ¶28) Plaintiff

produced her NYPD identification to Investigator Wigdor; they went to plaintiff’s residence where

Investigator Wigdor contacted an Assistant District Attorney and advised that a search warrant was

needed (AC ¶ 30). Plaintiff contacted her union attorney, Andrew Quinn, who advised unnamed

“officials,” via telephone, not to conduct a search without a “fully executed warrant” (AC ¶¶31-32).

Purportedly, at approximately 8:50 a.m., Inv. Flores “loudly” stated plaintiff was “associating with a

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known felon” (AC ¶33). Subsequently, Inv. Flores allegedly informed defendant, John Doe #1 -

whom plaintiff assumes was the Duty Captain of the 45th Precinct - that plaintiff was “Under,”

which plaintiff asserts means “a person is under arrest” (AC ¶33). Thereafter, John Doe #1

allegedly conferred with Inv. Flores. John Doe #1 directed that plaintiff be placed in custody and

escorted to and detained at the 43rd precinct for interrogation. Sgt. Anthony Borelli, plaintiff’s Police

Benevolent Association (“PBA”) Delegate, escorted her to the 43rd precinct (AC ¶35). Plaintiff

remained at the precinct with two Internal Affairs Bureau sergeants guarding her (AC ¶37). Plaintiff

alleges she was unable to make a phone call or use the bathroom without an escort (AC ¶38). At

3:00 p.m. that afternoon PBA Delegate Borelli informed plaintiff that DANY had obtained a search

warrant for her residence (AC ¶41). Plaintiff told Borelli that she wanted to be present for the

search but was advised she could not leave the precinct - she does not identify by whom (AC ¶ 42).

Plaintiff also claims her request to inspect the search warrant was denied (AC ¶43) - but again she

does not identify by whom.

        Recovered from plaintiff’s residence were three computers, $5000.00 in cash, financial

documents, a camera and film (AC ¶44). Plaintiff does not allege when these items were recovered.

But, while plaintiff also asserts that the warrant was not drafted or executed on “November 24,

2011” 1 (AC ¶49), annexed herein is a copy of the signed search warrant affidavit along with the

court ordered warrant, issued by the Honorable Carol Berkman at 1:10 p.m. on November 24, 2010.

(See Declaration by Maureen T. O’Connor dated May 12, 2014 [O’Connor Decl.] at Exh. A).

Plaintiff alleges, without being charged with a crime or violation, she was released from the precinct

at 7:05 p.m. later that same day (AC ¶40).


        1
         Although plaintiff alleges it was the year 2011, it is assumed this is a typo as the rest of the
        complaint refers to 2010.



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        Plaintiff goes on to complain that at some later date, she noticed long pauses, beeping

sounds and backgrounds noises during use of her home phone (AC ¶¶52-53), and believes she was

subjected to unlawful surveillance by either the City, the NYPD or DANY (AC ¶55). 2

 PLAINTIFF’S CLAIMS ARE UNTIMELY AND FAIL TO STATE A CLAIM UPON WHICH
                         RELIEF CAN BE GRANTED

    A. Plaintiff failed to timely serve the summons and complaint on the DA Defendants


        Federal Rules of Civil Procedure 4 (m) requires a summons to be served within 120 days of

filing of the complaint. Similarly, Fed. R. Civ. P. 4 (c) (1) requires that a summons “shall be served

together with a copy of the complaint...within the time allowed under subdivision (m) and shall

furnish the person effecting service with the necessary copies of the summons and complaint.” And

“[i]f service of the summons and complaint is not made upon a defendant within 120-days of the

filing of the complaint, the court, upon motion or on its own initiative after notice to the plaintiff,

shall dismiss the action without prejudice as to that defendant or direct that service be effected

within a specified time; provided that if the plaintiff shows good cause for the failure, the court shall

extend the time for service for an appropriate period.” Fed. R. Civ. P. 4 (m).

        The importance of timely service should not be understated, as it is the means by which the

court obtains personal jurisdiction over a defendant. In other words, “[s]ervice of summons is the

procedure by which a Court having venue and jurisdiction of the subject matter of the suit asserts

jurisdiction over the person of the party served.” Omni Capital International, Ltd. v Rudolf Wolff & Co.,

Ltd 484 U.S. 97, 104 (1987).


        2
          Plaintiff makes further allegations regarding her continued employment with the NYPD,
allegations which are not relevant to her claims against the DA Defendants. (AC¶¶ 56-75).




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        Plaintiff filed her complaint on November 20, 2013, nearly three years after the complained

of conduct. Service of the summons and complaint was due on or before March 20, 2014. Plaintiff,

however, failed to serve the summons or the complaint on either of the DA Defendants within the

statutory time period. Nevertheless, as reflected in the court docket sheet, on March 27, 2014, this

Court, apparently extended plaintiff’s time for service, and directed that she file and serve her

amended complaint by April 14, 2014. But, again plaintiff failed to timely serve, even within the

extended period of time. In-fact, it was not until May 1, 2014, that the DA Defendants were served

with plaintiff’s summons and amended complaint (See O’Connor Decl. at Exh. B). Given that

plaintiff failed to serve the DA Defendants both within the 120-day period, or within the extra time

period allowed by the court, the complaint against the DA Defendants should be dismissed.

        When a plaintiff fails to serve her summons and complaint within the statutorily permitted

time, a court “shall dismiss the action without prejudice as to that defendant or direct that service be

effected within a specified time; provided that if the plaintiff shows good cause for the failure, the

court shall extend the time for service for an appropriate period.” Fed. R. Civ. P. 4 (m)        See e.g.,

Salter v. Show Shoe, Inc. 2005 WL 1027253 at 1 (S.D. Ala.) (Even where a court has determined a

plaintiff has “good cause” for his failure, the court is required to either (1) extend the time for

service or (2) exercise its discretion to either dismiss the case or extend the time for service if good

cause was not shown). Good cause or not, plaintiff has already been granted an extension of time

for service by this court, and another extension of time should not be granted; not only because

there is no good cause for such an extension, but also because she failed to move this court for

another extension of time pursuant to Fed. R. Civ. Pro. 6 (b).

        Not surprisingly, good cause is not easily granted as it requires “a valid reason for delay, such

as the defendant’s evading service.” Id. (quoting Coleman v. Milwaukee Bd. of Sch. Dirs., 290 F.3d 932,

934 (7th Cir. 2002)). When assessing good cause, courts look to whether “the plaintiff was diligent


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in making reasonable efforts to effect service, including but not limited to whether plaintiff moved

under FRCP 6(b) ‘for an extension of time in which to serve the defendant.’ ” Salter v. Show Shoe, Inc.

2005 WL 1027253 **5-6 (quoting Gordon v. Hunt, 835 F.2d 452, 453 (2d Cir.1987)). And, of course,

“[a]n attorney’s ‘inadvertence, neglect, or mistake’ is ordinarily insufficient to support a finding of

good cause.” Id. at *6 (quoting AIG Managed Mkt. Neutral Fund v. Askin Capital Mgmt., L.P., 197

F.R.D. 104, 108 (S.D.N.Y. 2000)).

        Plaintiff has neither moved pursuant to Fed. R. Civ. Pro. 6 (b), nor has she advanced any

allegations in her amended complaint to support a finding of “good cause” for her failure to timely

serve the DA Defendants. Certainly there has been no allegation of evasion of service. At bottom,

by March 27, 2014, 127-days had passed since plaintiff filed her complaint. Nevertheless, in an

exercise of its discretion, the court permitted plaintiff an additional 3-week period, until April 14,

2014, within which to comply with her statutory obligation. Yes, even with that additional time, the

plaintiff still failed to timely perfect service on the DA Defendants.

        Simply put, there is no good cause for plaintiff’s failure to serve the complaint on the DA

Defendants, even after being granted additional time. As such, plaintiff’s claims against the DA

Defendants should be dismissed with prejudice.


    B. Plaintiff has failed to allege facts sufficient to support a cause of action


        Under the “notice pleading” standard of Fed. R. Civ. P. 8(a)(2), a plaintiff is not required to

advance every particular fact underlying her complaint to state a viable cause of action, so long as

her pleading afford the defendants fair notice of the claims being made against them. See Erickson

v. Pardus, 551 U.S.89, 127 S. Ct. 2197, 2200 (2007). However, complaints that constitute no more

than “threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Ashcroft v Iqbal, 129 S.Ct. 1937, 1949 (2009)(internal citations omitted).


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Put differently, plaintiff must do more than offer “labels and conclusions” or “a formulaic recitation

of the elements of a cause of action”; rather, she must advance sufficient factual allegations that,

taken as true, are “enough to raise a right to relief above the speculative level.” Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 554-555 (2007). Thus, even when assuming all facts alleged in the amended

complaint to be true, a plaintiff must nudge her “claims across the line from conceivable to

plausible.” Ashcroft v. Iqbal, 129 S.Ct at 1949

        The Court’s inquiry under Rule 12(b)(6) is generally limited to testing the allegations of the

complaint, though the Court should also consider any “matters of which judicial notice may be

taken, or . . . documents either in plaintiffs’ possession or of which plaintiffs had knowledge and

relied on in bringing suit.” Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002). For

example, a Court may take judicial notice of state court records pertaining to the underlying criminal

prosecution. See Chubbs v. City of New York, 324 F. Supp. 1183, 1187-88 (E.D.N.Y. 1971); see

generally LaFleur v. Whitman, 300 F.3d 256, 267 n.1 (2d Cir. 2002) (court may take judicial notice of

records filed in state court proceeding); New York v. Operation Rescue Nat’l, 273 F.3d 184, 199 (2d Cir.

2001) (similar).

        With these principles in mind, it is clear that plaintiff has failed to sufficiently allege a

plausible cause of action as to the DA Defendants. Those few allegations contained in the amended

complaint with respect to the DA Defendants are conclusory, lack factual specificity, and are

insufficient to raise a right to relief above the speculative level. Moreover, plaintiff’s reliance on legal

conclusions couched as factual assertions; those conclusions are not entitled to the assumption of

truth. Ashcroft v Iqbal, 129 S.Ct. at 1949. See Cooper v. Parsky, 140 F3d 433, 440 (2d Cir. 1998)(bald

assertions and conclusions of law are insufficient to survive a motion to dismiss).

        Plaintiff’s amended compliant consists of disjointed and convoluted assertions which fails to

attribute sufficiently specific allegations against the DA defendants. The only factual allegations


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plaintiff has specifically asserted against Inv. Flores is that, while outside plaintiff’s home he “loudly

stated that claimant was ‘associating with a known felon,’” 3 and he stated “Under!” to John Doe #1

(AC ¶33).

            Under her first cause of action, plaintiff claims, against all defendants, Fourth Amendment

violations asserting she was subjected to an unreasonable search and seizure, unlawful telephone

surveillance and an arrest without probable cause (AC ¶77). But, plaintiff does not allege that the

DANY or Inv. Flores participated in the search the plaintiff or her home, or participated in

plaintiff’s purported detention at the 43rd precinct. Alleging that Inv. Flores said to John Doe #1

the term “Under” and that plaintiff associated “with a known felon” without more, does not allege a

Fourth Amendment violation. Plaintiff does not even allege that Inv. Flores directed John Doe #1

to place plaintiff in custody or under arrest or otherwise detain her. Simply put, she has failed to

allege personal involvement in her alleged “arrest.” Further, merely claiming those statements were

made “without probable cause or an arrest warrant” – plainly conclusory legal language – does not

correct the deficiency as it amounts to no more than “threadbare recitals of the elements of a cause

of action, supported by mere conclusory statements [which] do not suffice.” Ashcroft v Iqbal, 129

S.Ct. at 1949 And most importantly, plaintiff’s claim that “the search warrant was not drafted or

executed on November 24, 2011,” (AC ¶¶48-50), is demonstrably false as the search of plaintiff’s




        3
         Of note, the certificate of conviction for George Castro, plaintiff’s common law husband,
        certifies that on August 7, 2012 Castro was convicted, after trial, of Grand Larceny in the
        First Degree under New York State Penal Law (“PL”) §155.42, Criminal Possession of
        Stolen Property in the First Degree in violation of PL §165.54 and Money Laundering in the
        First Degree, in violation of PL §470.20, and is presently serving a sentence of a 7 to 21
        years. See O’Connor Decl. at Exh. C.



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home and person, whether by the NYPD or other law enforcement personnel, was in-fact expressly

authorized by the Court (O’Connor Decl. at Exh. A). 4

        Plaintiff’s reliance on scant factual assertions, lack of personal involvement and a

demonstrably false allegation demonstrates the insufficiency of the allegations and their failure to

raise the right to relief above the speculative level. The same is true of plaintiff’s claim of unlawful

telephone surveillance. She alleges no facts in support a claim of “unlawful” surveillance. Instead

she relies “upon information and belief” and law enforcement experience, to claim that long pauses,

beeping sounds and backgrounds noises during use of her home phone constituted an unlawful

surveillance (AC ¶¶52-53). While speculative, the allegation is hardly a well pled factual allegation.

Moreover, she does not factually allege any personal conduct by Inv. Flores or DANY in the

supposed surveillance. Of course, absent any personal involvement by the DA defendants the

alleged unlawful surveillance, plaintiff’s claim fails against the DA defendants as it is “well settled in

[the Second] Circuit that personal involvement of defendants in alleged constitutional deprivations is a

prerequisite to an award of damages under § 1983.” Farrell v. Burke, 449 F.3d 470, 484 (2d Cir.

2006)(emphasis added)

        By her Second, Third and Fourth claims, again as to “all” defendants, plaintiff complains of

having “languished” at employment assignments at NYPD, (AC ¶86), her duty status with the

NYPD (AC ¶82), compensation matters within the NYPD, (AC ¶87) and her NYPD lost wages (AC

¶82). She seeks to enjoin the NYPD from an engaging in an alleged policy and practice of



        4
         Attached to the Amended Complaint is Exhibit A, which plaintiff purports to be a “search
        warrant” (AC ¶ 48). A reading of Exhibit A makes plain it is the affidavit in support of a
        search warrant. The search warrant itself was signed and issued by Justice Carol Berkman on
        November 24, 2010, at 1:10 p.m., and expressly authorizes a search of the premises,
        plaintiff’s person and two vehicles (O’Connor Decl. at Exh. A).



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  “prolonged modified duty status” and lost wages (¶82). What plaintiff has not alleged is any conduct

  by the DA Defendants in these claims, nor could she in good faith. Plaintiff does not claim she is

  employed by the DA Defendants, nor does she allege the DA defendants had any personal

  involvement in determination of her lost wages, duty status, disciplinary actions, or assignments in

  NYPD. Plaintiff has failed to allege any facts against any DA Defendant as to her Second, Third

  and Fourth Claims. Without any factual allegations of any conduct by the DA Defendants, these

  must fail. See Farrell v. Burke, 449 F.3d at 484.

         Plaintiff’s seeking to hold the elected District Attorney individually liable based upon the alleged

activities or omissions of his employees would do so under a respondeat superior theory of liability; yet it is

clear that this is not a viable theory of liability under federal law. Monell v. Department of Social Servs., 436

U.S. 658, 691-95 (1978); Patterson v. County of Oneida, 375 F.3d 206, 226 (2d Cir. 2004). Equally, respondeat

superior is not a viable theory of liability under New York law. County Law § 54 specifically provides that

“[n]o head of any agency . . . or office of a county shall be liable to respond in damages . . . for any act

or omission of any employee . . . employed within the agency . . . or office of which he is such head.”

This statute is applicable to the counties within the City of New York, County Law § 941, and as the

elected District Attorney of New York County, it is beyond question he qualifies as the head of DANY.

See Public Officers Law § 2. Thus, New York law precludes District Attorney from being held liable

under any theory of vicarious tort liability. See Barr v. County of Albany, 50 N.Y.2d 247, 257 (1980);

Tucker v. City of New York, 184 Misc.2d 491, 492 (Sup. Ct., N.Y. Co. 2000). In fact, the First Department

has squarely held that a plaintiff’s “[s]tate law claims against [the] District Attorney [], seeking to hold

him vicariously accountable for the acts or omissions of his subordinates, . . . [are] properly dismissed

[upon motion pursuant to CPLR § 3211(a)(7)], since claims premised on vicarious liability do not lie

against the head of a county agency.” Shmueli v. New York City Police Dept., 295 A.D.2d 271 (1st Dept.

2002).


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        Moreover, given the scarcity of factual allegations to support her Monell the claim, (AC ¶¶102-10)

regardless of the named party, it bears noting that to survive a motion to dismiss under Twombly and

Iqbal, plaintiff must plead sufficient factual matter to plausibly suggest that the municipality had a

"custom, policy, or usage" that caused her federal rights to be violated. Plaintiff's allegations of a

municipal custom or policy are, at best, conclusory assertions. (See AC ¶104) (Alleging a failure to

adequately supervise and train its officers and agents, including the Defendants, thereby failing to

adequately discourage further constitutional violations on part of their police officers and

investigators”). However, the Amended Complaint is entirely devoid of facts that might support the

conclusions plaintiff advances in support of this claim. These "[t]hreadbare recitals of the elements,"

required to prove Monell liability are legal conclusions, not well-pleaded factual allegations entitled to a

presumption of truth. Iqbal, 556 U.S. at 689. Because plaintiff has not contextualized her allegations

with any facts, she fails to state a plausible claim that the Defendants are liable for the constitutional

deprivations that she alleges. See, e.g., Guan N. v. N. Y.C. Dep 't of Educ., 2014 WL 1275487, at *22

(S.D.N.Y. Mar. 24, 2014); Bradley v.City of New York, 2009 WL 1703237, at *3 (E.D.N.Y. June 18, 2009).


      C. DANY is not a suable entity and is protected from suit by the 11th Amendment


          Plaintiff’s complaint should be dismissed for additional reasons. For example, she names as

  a defendant “The New York County District Attorney’s Office” or DANY. Plaintiff has not named

  the District Attorney himself. Rather, she seeks to sue the District Attorney’s Office. However, the

  “New York County District Attorney’s Office” is not a suable entity recognized by New York law, and

  judgment may not be entered against it on any of plaintiffs’ claims. See Gonzalez v. City of New York,

  1999 U.S. Dist. LEXIS 11413, *1-*2 (S.D.N.Y. July 27, 1999) (holding that “the New York County

  District Attorney’s Office . . . does not have a legal existence separate from the District Attorney

  himself,” and thus is not a suable entity); Steed v. Delohery, 1998 U.S. Dist. LEXIS 2754, *3 (S.D.N.Y.


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Mar. 11, 1998) (“The New York County District Attorney’s Office is not a suable entity.”); accord

Martinez v. Winner, 771 F.2d 424, 442 (10th Cir. 1985) (“Kenosha County District Attorney’s Office”

not a suable entity); Jacobs v. Port Neches Police Dep’t, 915 F. Supp. 842, 844 (E.D. Tex. 1996) (“A county

district attorney’s office is not a legal entity capable of suing or being sued.”); Hancock v. Washtenaw

County Prosecutor’s Office, 548 F. Supp. 1255, 1256 (E.D. Mich. 1982) (dismissing case against “Washtenaw

County Prosecutor’s Office” because it “is not an entity and, therefore, not a person subject to suit

under § 1981 or § 1983”).

        Moreover, even plaintiff had alleged her claim against the District Attorney - as opposed to

DANY - when done so in his official capacity, the law is clear that “[w]hen prosecuting a criminal

matter, a district attorney in New York State, acting in a quasi-judicial capacity, represents the State

not the county.” Ying Jing Gan v. City of New York, 996 F.2d 522, 536 (2d Cir. 1993) (internal quotes

and citation omitted). But the Eleventh Amendment divests this Court of subject matter jurisdiction

over any claim for money damages against a state actor in his official capacity. Kentucky v. Graham,

473 U.S. 159, 169 (1985) Thus, any federal claim for damages against the DA Defendants in their

official capacity is plainly barred by the Eleventh Amendment. Penhurst State Schools & Hosp. v.

Halderman, 465 U.S. 89, 120-21 (1984) Moreover, a state actor sued in his official capacity is not a

“person” subject to liability under § 1983, Will v. Michigan Dept. of State Police, 491 U.S. 58, 71 (1989),

and this is the additional “stopper” to any such “official capacity” claim against the DA Defendant.

See Arizonans for Official English v. Arizona, 520 U.S. 43, 69 & n.24, (1997); Ying Jing Gan v. City of New

York, 996 F.2d at 536. The Eleventh Amendment likewise precludes any state law claim brought in

this forum against the DA Defendants. Id. at 529. For the foregoing reasons, plaintiff’s complaint

should be dismissed.

        Even assuming plaintiff has attempted to assert claims against the District Attorney in his

individual capacity, the claims likewise fail. Plaintiff has not alleged that the District Attorney played


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any role in the events of November 24, 2010. Of course, absent any personal involvement by the

District Attorney in the complained of conduct, plaintiff has no § 1983 claims against the District

Attorney. See Farrell v. Burke, 449 F.3d 470, 484 (2d Cir. 2006); see also Escalera v. Lunn, 361 F.3d

737, 748-49 (2d Cir. 2004) (personal involvement a prerequisite for federal claim of false arrest);

Brogdon v. City Of New Rochelle, 200 F. Supp. 2d 411, 426 (S.D.N.Y. 2002)(similar). The same is true

under New York law. See Du Chateau v. Metro-North Commuter R.R. Co., 253 A.D.2d 128, 132-33 (1st

Dept. 1999).


    D. Inv. Flores is protected by qualified immunity


         Qualified immunity protects state officials from liability for damages based upon

performance of discretionary official acts as long as the challenged conduct does not violate “clearly

established statutory or constitutional rights of which a reasonable person would have known.”

Saucier v Katz, 533 U.S. 194 (2001); Cornejo v Monn, 592 F3d 121, 128 (2d Cir 2010), cert denied 131

S.Ct. 158 (2010). The availability of qualified immunity “generally turns on the objective legal

reasonableness of the allegedly unlawful official action, assessed in light of the legal rules that were

clearly established at the time it was taken.” Ying Jing Gan v City of New York, 996 F2d at 532 (internal

quotations omitted); see also Taravella v Town of Wolcott, 599 F3d 129, 134 (2d Cir 2010) (“even where

the law is clearly established and the scope of an official's permissible conduct is clearly defined, the

qualified immunity defense also protects an official if it was objectively reasonable for him at the

time of the challenged action to believe his acts were lawful” [internal quotations omitted]). And,

consistent with the objective nature of the rule, determination of whether an official is qualifiedly

immune for alleged conduct entails examination of the information possessed by the official at the

time of the act without consideration of subjective intent. Connecticut ex rel Blumenthal v Crotty, 346 F

3d 84, 106 (2d Cir 2003). See Jenkins v City of New York, 478 F3d 76, 87fn (2d Cir 2007)(“to


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demonstrate entitlement to qualified immunity, the defendant need not establish subjective good

faith.”)

           Plaintiff has alleged that Inv. Flores purportedly stated plaintiff was “associating with a

known felon” and that plaintiff was “under.” The only other conduct ascribed to Inv. Flores is that

he “confer[ed]” with John Doe #1 before John Doe #1 directed that plaintiff be taken into custody

and escorted to and detained at the 43rd (AC ¶35). She does not allege Inv. Flores authorized John

Doe#1 to take plaintiff “into custody.” Nor does she allege Inv. Flores even had the authority to

direct members of another agency, the NYPD, to take plaintiff into custody. Rather, she claims it

was John doe #1 who directed that plaintiff be taken “into custody” (AC ¶35). Simply put, Inv.

Flores alleged remarks did not violate plaintiff’s constitutional rights. His comments, even when

viewed as an “official act,” do not violate “clearly established statutory or constitutional rights of

which a reasonable person would have known.” Saucier v Katz, 533 U.S. 194 (2001); Cornejo v Monn,

592 F3d 121, 128 (2d Cir 2010), cert denied 131 S.Ct. 158 (2010).

           In short, plaintiff has again failed to allege facts sufficient to support a claim that Inv. Flores

caused, authorized and directed that she be taken into to custody and thus has alleged no violation

of her Fourth Amendment rights by Inv. Flores. As such, the protections offered by qualified

immunity should be granted. See Ying Jing Gan v City of New York, 996 F2d at 532. (Qualified

immunity “should be upheld unless the ‘contours of the right’ were ‘sufficiently clear that a

reasonable official would understand that what he is doing violates that right’”); Provost v City of

Newburgh, 262 F3d 146 (2d Cir 2001)(“In an unlawful arrest action, an officer is ... subject to suit

only if his ‘judgment was so flawed that no reasonable officer would have made a similar choice.’”);

Malley v Briggs, 475 US 335, 341 (1986)(qualified immunity shields “all but the plainly incompetent or

those who knowingly violate the law.”)




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        Having failed to sufficiently plead a constitutional violation by Inv. Flores which would

entitle her to relief, plaintiff’s Fourth Amendment claims should be dismissed.


    E. Plaintiff’s State claims are untimely


        Apart from her federal claims, under the Sixth, Seventh, Eighth, Ninth and Tenth Claim,

plaintiff presses various state law claims against the DA Defendants including unlawful search and

seizure, unlawful telephone surveillance and arrest without probable cause (AC ¶108-111), slander

(AC ¶¶112-118), injurious falsehood (AC ¶119-122), Prima Facie Tort, (AC ¶¶123-126), and

Respondeat Superior (AC ¶127-128). 5 Each of plaintiff’s state claims suffers from a fundamental

pleading defect under N.Y. Gen. Mun. Law §§ 50-e and 50-i, which requires service of a notice of

claim as a condition precedent to bringing a state law tort claim against a public corporation or any

of its officers, agents, or employees. 6 See O’Brien v. City of Syracuse, 54 N.Y.2d 353, 358 (1981). New

York law is clear that a notice of claim must be served “within ninety days after the claim arises,”

N.Y. Gen. Mun. Law § 50-e(1)(a), and it is well settled that New York’s “notice of claim

requirements apply equally to state tort claims brought as pendent claims in a federal civil rights

action.” Fincher v. County of Westchester, 979 F. Supp. 989, 1002 (S.D.N.Y. 1997).




        5
         Of course, since Statue of Limitations for each of these state claims accrued on November
        24, 2010 and DANY was not served with the summons and Amended complaint until May
        2, 2014, each state claim is also barred by the Statute of Limitations.
        6
         In actions against individuals, this requirement applies if the pertinent public corporation is
        obligated to indemnify that person for his conduct. N.Y. Gen. Mun. Law § 50-e(1)(b);
        Brogdon v. City of New Rochelle, 200 F. Supp. 2d 411, 428 (S.D.N.Y. 2002). Because the City of
        New York owes such an indemnification obligation to the DA Defendants, N.Y. Gen. Mun.
        Law § 50-k; N.Y. City Admin. Code § 7-110, there is no doubt that this notice of claim
        requirement is applicable.



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        The latest accrual date suggested by plaintiff’s pleadings for her claims against the DA

Defendants is November 24, 2010. While plaintiff alleges she filed the requisite notice of claim, (AC

¶¶ 23, 26), she fails to state when that notice was filed. However it is apparent that the notice of

claim was filed on May 13, 2103. (See D’Andrea Dec. Ex. B) Since the Amended Complaint does

not allege the date plaintiff filed a notice of claim on the City or DANY or Inv. Flores, let alone

within ninety days of that accrual date, any state law claims against the DA Defendants must be

dismissed. 7 Davidson v. Bronx Mun. Hosp., 64 N.Y.2d 59, 61-62 (1984); accord McLaurin v. New Rochelle

Police Officers, 368 F. Supp. 2d 289, 296 (S.D.N.Y. 2005)

        Plaintiff’s asserts a “Continuous Tort theory” as against Inv. Flores and DANY. It is without

factual support. Subsequent to November 24, 2010, plaintiff does not allege any conduct by Inv.

Flores or DANY. Further, she fails to allege any conduct by either Inv. Flores or DANY supports

her speculative notion that the DA Defendants were part of a continuing violation. The continuing

tort doctrine can “provide an exemption from the statute of limitations where the ‘last actionable

act’ of the alleged course of conduct falls within the statute of limitations.” Valle v. Bally Total Fitness,

No 99 Civ. 11650 (RCC) (KNF), 2001 U.S. Dist. Lexis 16285, at *11 (S.D. N.Y. Oct. 9, 2001) (citing

Neufeld v Neufeld, 910 F.Supp. 977, 983 (S.D.N.Y. 1996)) The Plaintiff’s state law claims are not one

of the limited recognized torts where a claimant may not immediately recognize the injury caused to

her, such as conspiracy liability. See e.g. Conte v. County of Nassau, No, 06-CV-4746 (JFB) (ETB) 2013

U.S. Dist.Lexis 105207 (E.D.N.Y. July 26, 2013. Moreover, “Under New York law, however,



        7
          Additionally, it should be noted that because New York law provides that any application
        for leave to serve a late notice of claim “shall be made to the supreme court or to the county
        court,” N.Y. Gen. Mun. Law § 50-e(7), “federal courts do not have jurisdiction to permit the
        filing of a late notice of claim.” Warner v. Goshen Police Dept., 256 F. Supp. 2d 171, 175
        (S.D.N.Y. 2003).



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defamation claims are not subject to the ‘continuing course of conduct doctrine for tolling of the

statute of limitations….” Boda v. Phelan, No 11 –CV-00028 (KAM), 2012 U.S.Dist. LEXIS 110304,

AT **7-8 N.1 E.D.N.Y. Aug. 6, 2012. There is no continuous tort as to these allegations and as

such plaintiff’s state court claims of unlawful search and seizure, false imprisonment, slander,

injurious falsehood, and Prima facie tort are now time barred.

        Plaintiff’s state claim of slander fairs no better. The alleged statements of “under” to John

Doe #1, and that plaintiff was “associating with a known felon” are simply insufficient to sustain

her cause of action. For instance, plaintiff has not alleged Inv. Flores “published” the statement to

anyone. Despite the assertion that Inv. Flores stated “loudly” that “plaintiff was associating with a

known felon” (AC ¶33), she fails to claim anyone heard the statement or that he actually uttered the

statement to anyone. A slanderous statement is actionable only when it is heard by a third party.

Barber v. Daly, 185 A.D.2d 567, (3rd Dept. 1992)

        To further confuse the matter, plaintiff later claims that “said words were published by said

Defendant to numerous law enforcement officials in her home, and were later published to police

officers and supervisors in her home command, throughout the Defendant NYPD community and

Newspapers in the City of New York” (AC ¶114). However, plaintiff does not specify which

“words” were published by which “Defendant.” The paragraph immediately before references both

the statements allegedly uttered by Inv. Flores as well as those uttered by defendant John Doe #1.

Moreover, plaintiff does not claim that Inv. Flores repeated or “published” his statements at some

later date to her NYPD command, the NYPD community or to the media. Again, her claims do not

have sufficient factual support.

        Lastly, a slander or defamation action requires an allegation of fact, that is false, and not an

opinion. Brian v Richardson, 87 N.Y.2d 46, 51 (1995). Whether a statement is fact or opinion is

determined by the court as a matter of law, Hassig v. FitzRandolph, 8 A.D.3d 930 (3rd Dept. 2004),


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which generally look to the context of the whole communication, including its tone and purpose to

determine if a statement is opinion or fact. Brian v Richardson, 87 N.Y.2d at 51. Here, Inv. Flores’

alleged utterance was that plaintiff “was associating with a known felon” -her common law husband-

who had just been arrested outside plaintiff’s residence for the crime of grand larceny, (AC ¶27), a

felony under New York Law. See O’Connor Decl. at Exh. C. Plaintiff’s common-law husband has

since been convicted of Grand Larceny and related felonies and is currently serving a sentence of 7

to 21 years’ incarceration. In the context of these facts and circumstances, it is clear that Inv. Flores

was stating an opinion about plaintiff’s and her husband, which is not actionable as slander. Hassig v.

FitzRandolph, 8 A.D.3d 930, (3rd Dept. 2004)

                                           CONCLUSION


        Plaintiff has failed to timely serve the DA Defendants with her summons and complaint.

Further, plaintiff’s 42 U.S.C. §1983 claims and related state law claims against the DA Defendants

do not state claims upon which relief can be granted. Accordingly, her complaint against them

should be dismissed in its entirety.

        Dated: New York, New York

                May 12, 2014                    Cyrus R. Vance Jr.

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